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                                                     THE HONORABLE JOHN C. COUGHENOUR
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                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9    DANIEL COHEN, individually and on behalf of CASE NO. C20-1388-JCC
      all other similarly situated,
10
                                                  MINUTE ORDER
11                            Plaintiff,
              v.
12
      BLACKBAUD, INC., et al.,
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                            Defendants.
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            The following Minute Order is made by direction of the Court, the Honorable John C.
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     Coughenour, United States District Judge:
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            This matter comes before the Court on Plaintiff Daniel Cohen and Defendant Bank Street
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     College of Education’s stipulation for an extension of time for Defendant Bank Street College of
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     Education to respond to Plaintiff’s complaint (Dkt. No. 32.) Having thoroughly reviewed the
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     stipulation and relevant record, and finding good cause, the Court GRANTS the motion and
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     ORDERS that Defendant Bank Street College of Education’s deadline to answer or otherwise
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     respond to the complaint is extended until November 25, 2020.
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     MINUTE ORDER
     C20-1388-JCC
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 1   DATED this 9th day of November 2020.

 2                                             William M. McCool
                                               Clerk of Court
 3
                                               s/Paula McNabb
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                                               Deputy Clerk
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     MINUTE ORDER
     C20-1388-JCC
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